      Case 2:23-cv-00165-SMD Document 72-1 Filed 11/18/24                       Page 1 of 2
                        UNITED STATES DISTRICT COURT
                        NORTHRN DISTICT OF ALABAMA
                           NORTHEASTERN DIVISION

FREDERICK D. JONES,                             )
#157783,                                        )
                                                )
           Petitioner,                          )
                                                )
vs.                                             )       CASE NO. 5 :20-cv -02022-LSC-NAD
                                                )
KIM WILLINGHAM, et al.,                         )
                                                )
           Respondent.                          )


                                          AEEIDAVIT

           Before me, the undersigned authority, a Notary Public in and for said county and State of

Alabama atlarge, personally appeared Rolanda Calloway, who being known by me and first duly

sworn, deposes and says under oath as follows:

      My name is Rolanda Calloway. I am presently employed as a Correctional Warden III

with the Alabama Department of Corrections, at Elmore Correctional Facility, Elmore, Alabama.

I am over twenty-one (21) years of age.

      I have read the complaint of inmate Frederick D. Jones. In response; On March 28,2020

when inmate Jones was received at Kilby Correctional Facility, I was not assigned to that

facility. I arrived at Kilby Correctional Facility on May 1,2020 and served in the capacity of

Acting Facility Head. As the Facility Head at Kilby Correctional Facility, it was not my

responsibility to alert the Alabama Department of Pardons and Paroles of inmate Jones' arrest;

nor was it my responsibility to schedule inmate Jones a hearing with the Board of Pardons and

Paroles.

      In May of 2020 employees of the Alabama Parole Board were allowed to enter the facility.

However, due to the COVID-l9 Pandemic and out of an abundance of caution to minimize

exposure to the staff and inmate population, the Alabama Department of Corrections did not

allow visitors serving as witnesses to enter our facilities.


                                                                                       Exhibit 1
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     Mr. Terry Anthony never instructed me to release inmate Jones or any other inmate from

the custody of the Alabama Department of Corrections. I have no knowledge of any specifics of

his release relevant to staying at a hotel pending a hearing. It is the policy of the Alabama

Department of Corrections to release inmates verified for release by our Central Records

Division. On August 28,2020 such verification for release was received in reference to inmate

Jones, instructing the staff at Kilby to release inmate Jones on September 1, 2020. On September

7,2020, inmate Jones was released from the custody of the Alabama Department of Corrections

and received transportation to the bus station and a ticket to Huntsville. At no time did I,

personally, violate inmate Jones' due process, false imprison him or exhibit any cruel or unusual

punishment during his stay at Kilby Correctional Facility under my leadership.




                                                       K.                                          III
                                                     Elmore Correctional


STATE OF ALABAMA)
ELMORE COLTNTY)
                                                                                             nI
Sworn to and subscribed before me and given under my hand and official seal this the                     day

,f horil              ,2022.


                                            Notary Public:
                                            My Commission



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                                                                                    Exhibit 1
